        Case 2:21-cv-01530-AMM Document 219 Filed 08/04/23 Page 1 of 4                  FILED
                                                                               2023 Aug-04 PM 04:37
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


EVAN MILLIGAN, et al.,
    Plaintiffs,

        v.                                   No. 2:21-cv-01530-AMM

WES ALLEN, et al.,
    Defendants.



MARCUS CASTER, et al.,
   Plaintiffs,

        v.                                   No. 2:21-cv-01536-AMM

WES ALLEN, et al.,
    Defendants.



       MILLIGAN AND CASTER PLAINTIFFS’ RESPONSE TO COURT
           INQUIRY REGARDING REMEDIAL PROCEEDINGS

       In its August 2 Order, the Court found David R. Ely to be “well qualified to

serve as the Court’s expert cartographer.” ECF 204 at 4. The Court also offered the

parties the opportunity to “submit any comments or objections to the appointment

of Mr. David Ely as an expert cartographer.” Id. The Milligan and Caster Plaintiffs

recommended Mr. Ely and, therefore, agree that he is a well-qualified expert. ECF

198.


                                         1
       Case 2:21-cv-01530-AMM Document 219 Filed 08/04/23 Page 2 of 4




      Mr. Ely has served as special master for a federal court in a Voting Rights Act

case against the State of Louisiana. See Terrebonne Branch NAACP v. Jindal, No.

3:14-CV-69-JJB-EWD, 2019 WL 4398509 (M.D. La. Apr. 29, 2019), report and

recommendation adopted 399 F. Supp. 3d 608 (M.D. La. 2019). Furthermore, Mr.

Ely has worked for both Plaintiffs and Defendants in civil rights litigation. See, e.g.,

Luna v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1117 (E.D. Cal. 2018) (expert for

Plaintiffs); San Francisco NAACP v. San Francisco Unified School Dist., 59 F.

Supp. 2d 1021, 1034 (N.D. Cal. 1999) (Defendants). Additionally, in a recent case,

Mr. Ely offered map drawing and demographic expertise to support the § 2 claims

brought by one group of Plaintiffs in a case that also included § 2 claims brought by

the Republican Party. See McConchie v. Scholz, 577 F. Supp. 3d 842, 858 (N.D. Ill.

2021) (3-judge court).

      Accordingly, the Milligan and Caster Plaintiffs support the appointment of

Mr. Ely as a cartographer or joint special master with Mr. Allen to aid the Court in

these remedial proceedings. Mr. Ely’s experience will complement the experience

of Mr. Allen and the pairing is well suited to a co-equal relationship and partnership

in making recommendations to this Court.




                                           2
      Case 2:21-cv-01530-AMM Document 219 Filed 08/04/23 Page 3 of 4




     Respectfully submitted,

/s/ Deuel Ross
Deuel Ross*                        Sidney M. Jackson (ASB-1462-K40W)
Tanner Lockhead*                   Nicki Lawsen (ASB-2602-C00K)
NAACP LEGAL DEFENSE &              WIGGINS CHILDS PANTAZIS
   EDUCATIONAL FUND, INC.             FISHER & GOLDFARB, LLC
700 14th Street N.W. Ste. 600      301 19th Street North
Washington, DC 20005               Birmingham, AL 35203
(202) 682-1300                     Phone: (205) 341-0498
dross@naacpldf.org                 sjackson@wigginschilds.com
tlockhead@naacpldf.org             nlawsen@wigginschilds.com

Leah Aden*                         Davin M. Rosborough*
Stuart Naifeh*                     Julie Ebenstein*
Ashley Burrell*                    Dayton Campbell-Harris*
Kathryn Sadasivan (ASB-517-E48T)   AMERICAN CIVIL LIBERTIES
Brittany Carter*                   UNION FOUNDATION
NAACP LEGAL DEFENSE &              125 Broad St.
  EDUCATIONAL FUND, INC.           New York, NY 10004
40 Rector Street, 5th Floor        (212) 549-2500
New York, NY 10006                 drosborough@aclu.org
(212) 965-2200                     jebenstein@aclu.org
Shelita M. Stewart*                dcampbell-harris@aclu.org
Jessica L. Ellsworth*
HOGAN LOVELLS US LLP               LaTisha Gotell Faulks (ASB-1279-I63J)
555 Thirteenth Street, NW          AMERICAN CIVIL LIBERTIES UNION
Washington, D.C. 20004             OF ALABAMA
(202) 637-5600                     P.O. Box 6179
shelita.stewart@hoganlovells.com   Montgomery, AL 36106-0179
David Dunn*                        (334) 265-2754
HOGAN LOVELLS US LLP               tgfaulks@aclualabama.org
390 Madison Avenue                 kwelborn@aclualabama.org
New York, NY 10017
(212) 918-3000                     Blayne R. Thompson*
david.dunn@hoganlovells.com        HOGAN LOVELLS US LLP
                                   609 Main St., Suite 4200
Michael Turrill*                   Houston, TX 77002
Harmony A. Gbe*                    (713) 632-1400
HOGAN LOVELLS US LLP               blayne.thompson@hoganlovells.com

                                    3
      Case 2:21-cv-01530-AMM Document 219 Filed 08/04/23 Page 4 of 4




1999 Avenue of the Stars
Suite 1400
Los Angeles, CA 90067
(310) 785-4600
michael.turrill@hoganlovells.com
harmony.gbe@hoganlovells.com

                                   Counsel for Milligan Plaintiffs



                                        Respectfully submitted,

Richard P. Rouco                        By /s/ Abha Khanna
(AL Bar. No. 6182-R76R)                 Abha Khanna*
Quinn, Connor, Weaver, Davies           Elias Law Group LLP
& Rouco LLP                             1700 Seventh Ave, Suite 2100
Two North Twentieth                     Seattle, WA 98101
2-20th Street North, Suite 930          Phone: (206) 656-0177
Birmingham, AL 35203                    Email: AKhanna@elias.law
Phone: (205) 870-9989
Fax: (205) 803-4143                     Lalitha D. Madduri*
Email: rrouco@qcwdr.com                 Joseph N. Posimato*
                                        Jyoti Jasrasaria*
                                        Elias Law Group LLP
                                        250 Massachusetts Ave. NW, Suite 400
                                        Washington, D.C. 20001
                                        Phone: (202) 968-4518
                                        Email: LMadduri@elias.law
                                        Email: JPosimato@elias.law
                                        Email: JJasrasaria@elias.law

                                        Counsel for Caster Plaintiffs
                                        *Admitted Pro Hac Vice




                                    4
